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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 18-60789-CIV-GAYLES/SELTZER


  ROSE MARY PAOLINO and
  JEFFREY PAOLINO,

                         Plaintiffs,
  v.

  U.S. BANK, NATIONAL ASSOCIATION
  AS TRUSTEE FOR NEW RESIDENTIAL
  PASS-THROUGH TRUST V and
  NATIONSTAR MORTGAGE, LLC,

                         Defendants.               /

       ORDER AFFIRMING AND ADOPTING REPORT OF MAGISTRATE JUDGE

         THIS CAUSE comes before the Court on Magistrate Judge Barry S. Seltzer’s Report and

  Recommendation [ECF No. 25] (“Report”). On April 11, 2018, Plaintiffs filed the instant action

  alleging breach of contract and violations of the Real Estate Settlement Procedures Act (“RES-

  PA”) and the Florida Consumer Collection Protection Act (“FCCPA”). [ECF No. 1]. On June 8,

  2018, Defendants moved to dismiss arguing that this Court should apply Colorado River absten-

  tion to allow a parallel foreclosure action in state court to proceed. [See ECF No. 12, at 12 (citing

  Colo. River Water Conservation Dist. v. United States, 424 U.S. 800 (1976))]. On June 18, 2018,

  the Court referred the action to Magistrate Judge Barry S. Seltzer pursuant to 28 U.S.C.

  § 636(b)(1)(B) for a ruling on all pretrial nondispositive matters and for a report and recommen-

  dation on any dispositive matters. [ECF No. 14]. On July 24, 2018, Judge Seltzer issued his Re-

  port recommending that the Court grant Defendants’ motion in part, abstain pursuant to Colora-

  do River, and stay this case pending resolution of the state court foreclosure action. [ECF No.
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  25]. Plaintiffs timely objected to the Report, arguing that Judge Seltzer misapplied the Colorado

  River factors. [ECF No. 26].

           A district court may accept, reject, or modify a magistrate judge’s report and recommen-

  dation. 28 U.S.C. § 636(b)(1). Those portions of the report and recommendation to which objection

  is made are accorded de novo review, if those objections “pinpoint the specific findings that the

  party disagrees with.” United States v. Schultz, 565 F.3d 1353, 1360 (11th Cir. 2009); see also Fed.

  R. Civ. P. 72(b)(3). Any portions of the report and recommendation to which no specific objection

  is made are reviewed only for clear error. Liberty Am. Ins. Grp., Inc. v. WestPoint Underwriters,

  L.L.C., 199 F. Supp. 2d 1271, 1276 (M.D. Fla. 2001); accord Macort v. Prem, Inc., 208 F. App’x

  781, 784 (11th Cir. 2006).

           Following a de novo review, the Court agrees with Judge Seltzer’s well-reasoned analy-

  sis and agrees that this Court should abstain pursuant to Colorado River. In their Objections,

  Plaintiffs cite to four cases, each of which the Court finds readily distinguishable from this ac-

  tion. In Bianchetti v. JPMorgan Chase Bank, N.A., No. 15-cv-4107, 2016 WL 1262458 (D.N.J.

  Mar. 31, 2016), for instance, the district court found that there was not an “ongoing” parallel

  proceedings because the parties had filed a stipulation of dismissal in the state court. And in

  the other cases Plaintiffs cite, none of the state court actions were as progressed as the state

  court action here, which is set for trial in November 2018. See, e.g., Hamilton v. Suntrust

  Mortg. Inc., 6 F. Supp. 3d 1300, (S.D. Fla. 2014) (noting the “glaciel pace of the state court

  foreclosure action”).1



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      The Court notes one nondispositive error in the Report: the first Colorado River factor favors absten-
      tion only where the federal action is in rem or quasi in rem. See Hamilton, 6 F. Supp. 3d at 1306
      (“[W]hile the state court foreclosure action is an in rem proceeding, this case does not involve jurisdic-
      tion over property, but rather seeks damages . . . . Thus, this factor does not favor abstention.”). Be-
      cause Plaintiffs seek only damages in this action, the first Colorado River factor does not favor absten-

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         Accordingly, it is ORDERED AND ADJUDGED as follows:

         (1)     Judge Seltzer’s Report and Recommendation [ECF No. 25] is AFFIRMED AND

                 ADOPTED and incorporated into this Order by reference;

         (2)     Defendants’ Motion to Dismiss Plaintiffs’ Complaint [ECF No. 12] is GRANT-

                 ED in part;

         (3)     this action is STAYED and CLOSED for administrative purposes. Plaintiffs may

                 move to reopen upon resolution of the state court foreclosure action.

         DONE AND ORDERED in Chambers at Miami, Florida, this 4th day of September, 2018.




                                                 ________________________________
                                                 DARRIN P. GAYLES
                                                 UNITED STATES DISTRICT JUDGE




    tion. Nevertheless, considering all of the factors, the Court agrees that Colorado River abstention is
    appropriate.

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